Case: 6:16-cv-00061-DLB-EBA Doc #: 18 Filed: 12/15/16 Page: 1 of 1 - Page ID#: 59



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY

JAMES RAY YOUNG,              )
                              )
              Plaintiff,      )                          6:16-cv-00061-DLB
                              )
     v.                       )
                              )
GLA COLLECTION COMPANY, INC., )
                              )
              Defendant.      )

                       STIPULATION TO DISMISS WITH PREJUDICE

       By agreement, the parties to the above-captioned action, by and through their respective

attorneys, state as follows:

       1.        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

                 hereby stipulate and agree that the above-captioned action should be dismissed.

       2.        The parties, by agreement, respectfully request that this case be dismissed with

                 prejudice and without costs to any party.

Date: December 15, 2016

For Plaintiff,                                         For Defendant,
James Young                                            GLA Collection Company, Inc.

  /s David M. Marco                                      /s with consent William E. Smith III
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